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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 STEFANIE GENTLES,
 RICHARD MESSERLY,
 GREGG BROWN, and
 DAVID BAIR, individually and on
 behalf of all others similarly situated,
                                            Case No. 3:15-cv-00069-DRH-DGW
                    Plaintiffs,

 v.

 HEALTHPORT TECHNOLOGIES,
 LLC, and CIOX HEALTH, LLC,

                    Defendants.


              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      AND FINAL JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE

        Pending before the Court are the Plaintiffs’ Motion for Approval of Class

 Action Settlement (Doc. 77) and Plaintiffs’ Motion for an Award of Attorneys’ Fees

 and                                                                          Costs

 and Request for Incentive Awards (Doc. 79). Having reviewed the papers filed in

 support of the motions, heard argument of counsel, and good cause appearing

 therein, the motions are GRANTED and it is hereby ORDERED, ADJUDGED,

 and DECREED that:

        1.    Any terms and phrases in this Order shall have the same meaning as

 in the Class Action Settlement Agreement (Doc. 78-1, the “Settlement Agreement”).

        2.    This Court has jurisdiction over the subject matter of this action and

 over all Parties to the Action, including all Settlement Class Members.


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       3.     The Settlement Class is bound by this Order and Judgment

       4.     For purposes of the Settlement and this Final Judgment and Order

 of Dismissal with Prejudice, the Settlement Class means all persons in the United

 States who paid to HealthPort Technologies, LLC and/or CIOX Health, LLC, at any

 time on or after December 6, 2010, one of the following fees as a result of

 obtaining electronic medical records in electronic form from a healthcare facility

 or physician practice located in the State of Illinois: (a) the full Paper Copy Price

 rather than the discounted Electronic Record Price; and/or (b) an Electronic

 Delivery Fee.

       5.     The court finds that the Settlement Class meets the requirements of

 Federal Rules of Civil Procedure 23(a) and (b)(2).

       6.     The prerequisites for certification of the Settlement Class under

 Rules 23(a) and (b)(2) of the Federal Rules of Civil Procedure have been satisfied

 in that: (a) the number members of the Settlement Class is so numerous that

 joinder of all members thereof is impracticable; (b) there are questions of law and

 fact common to the Settlement Class; (c) the claims of the class representatives

 are typical of the claims of the Settlement Class they seek to represent; (d) the

 class representatives have and will fairly and adequately represent the interests of

 the Settlement Class; and (e) the Defendants have acted or refused to act on

 grounds generally applicable to the class, thereby making appropriate final

 declaratory relief with respect to the class as a whole.

       7.     The Court affirms certification of the Settlement Class.



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       8.      Due to the broad, automatic, and uniform benefit of the injunctive

 relief in this action, it will inure to benefit all members of the Settlement Class in

 equal measure. Accordingly, no notice is required or necessary as: absent

 Settlement Class Members retain their rights to sue for monetary relief; the

 Settlement extends near complete injunctive relief to the Class; there is no

 evidence of collusion amongst the parties; the Settlement negotiations were

 conducted at arms’ length; and the cost of notice itself would actually jeopardize

 the Settlement Agreement. The Court, in its discretion, declines to order notice in

 this action as it is not required in order to satisfy the requirements of federal due

 process of law.

       9.      The Settlement, as set forth in the Settlement Agreement, is in all

 respects fair, reasonable, adequate and in the best interests of the Settlement

 Class, and it is approved. The Parties to the Settlement Agreement shall effectuate

 the Settlement Agreement according to its terms. The Settlement Agreement and

 every term and provision thereof shall be deemed incorporated herein as if

 explicitly set forth and shall have the full force of an Order of this Court.

       10.     This Order and Judgment, and the Settlement Agreement, shall not

 be construed as, or used as an admission or concession on the part of Defendants

 with respect to any claim of any fault or wrongdoing or liability or damage

 whatsoever.

       11.     The Court approves the payment to Class Counsel of $290,000.00 in

 attorneys’ fees, inclusive of any and all costs, pursuant to the terms set forth in



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 the Settlement Agreement.

       12.   The award of attorneys’ fees to Class Counsel shall be allocated

 among Plaintiffs’ counsel in a fashion that, in the opinion of Class Counsel, fairly

 compensates counsel for their respective contributions in the prosecution of the

 Action.   The    Court   has   considered    this   award   of   attorneys’   fees   and

 reimbursement of expenses separately from the merits of the settlement and the

 Court has considered and finds as follows:

             a.      The Settlement has provided significant relief to the Settlement

       Class and provided such injunctive relief in a timely manner.

             b.      Plaintiffs’ counsel have conducted the litigation and achieved

       the Settlement with skill, perseverance, and diligent advocacy on behalf of

       Plaintiffs and the Settlement Class as a whole.

             c.      The Action involves complex factual and legal issues and, in

       the absence of Settlement, would involve further lengthy proceedings and

       uncertain resolution of such issues.

             d.      Had this Settlement not been achieved, there would remain a

       significant risk that the Settlement Class may have recovered less or

       nothing from Defendants, and that any recovery would have been

       significantly delayed.

             e.      The amount of attorneys’ fees and costs awarded to counsel is

       fair and reasonable, given the number of attorney hours expended to

       achieve the Settlement on behalf of Plaintiffs and the Settlement Class as a



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       whole, and the amount awarded is consistent with awards for similar work

       in similar cases.

       13.     The Court further approves the payment of $5,000 each to the four

 Class Representatives Stefanie Gentles, Richard Messerly, Gregg Brown, and

 David Bair.

       14.     All payments described herein shall be made in the manner and at

 the times set forth in the Settlement Agreement.

       15.     The above-captioned Action is hereby DISMISSED with prejudice.

 Except as otherwise provided in this Order, the Parties shall bear their own costs

 and attorneys’ fees. Without affecting the finality of the Judgment hereby entered,

 the Court reserves jurisdiction over the implementation, interpretation, and

 enforcement of the terms of the Settlement Agreement, and all parties hereto

 submit to the jurisdiction of the Court for purposes of implementing, interpreting,

 and enforcing the Settlement embodied in this Settlement Agreement.

       16.     By reason of the Settlement, and approval hereof, there is no just

 reason for delay and this Final Order and Judgment shall be deemed a final

 judgment pursuant to Rule 54(b) of the Federal Rules of Civil Procedure.

       IT IS SO ORDERED.                                       Digitally signed by
                                                               Judge David R.
                                                               Herndon
                                                               Date: 2017.09.07
                                                               11:19:12 -05'00'
                                               United States District Court Judge




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